          Case 1:21-cv-00546-LY Document 63 Filed 08/25/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

TEXAS STATE LULAC;                           §
VOTO LATINO,                                 §
                                             §
                  Plaintiffs,                §
                                             §
       v.                                    §        Civil Action No: 1:21-cv-00546-LY
                                             §
BRUCE ELFANT, in his official capacity as §
the Travis County Tax Assessor-Collector, et §
al.,                                         §
                  Defendants.


   DEFENDANT LISA WISE’S RESPONSE TO THE MOTION TO INTERVENE AS
  DEFENDANTS BY MEDINA COUNTY ELECTIONS ADMINISTRATOR LUPE C.
  TORRES, IN HER OFFICIAL CAPACITY, AND REAL COUNTY TAX ASSESSOR-
       COLLECTOR TERRIE PENDLEY, IN HER OFFICIAL CAPACITY

       Defendant Lisa Wise, in her official capacity as the El Paso County Elections

Administrator (“Defendant Wise”), submits this response to the Motion to Intervene as Defendants

(the “Motion”) filed by Medina County Elections Administrator Lupe C. Torres, in her official

capacity, and Real County Tax Assessor-Collector Terrie Pendley, in her official capacity

(collectively, “Proposed Intervenors”) on August 11, 2021 (ECF No. 48).

       Defendant Wise respectfully submits that she takes no position in response to Proposed

Intervenors’ Motion.


Dated: August 25, 2021                          Respectfully submitted,

                                                /s/ Kathleen Hartnett
                                                Kathleen Hartnett* (CA SBN 314267)

                                                COOLEY LLP
                                                Kathleen Hartnett* (CA SBN 314267)
                                                khartnett@cooley.com
Case 1:21-cv-00546-LY Document 63 Filed 08/25/21 Page 2 of 3




                              Beatriz Mejia* (CA SBN 190948)
                              bmejia@cooley.com
                              Danielle C. Pierre* (CA SBN 300567)
                              dpierre@cooley.com
                              Sharon Song* (CA SBN 313535)
                              ssong@cooley.com
                              Kelsey Spector* (CA SBN 321488)
                              kspector@cooley.com
                              Angelica Leo* (CA SBN 334324)
                              aleo@cooley.com
                              3 Embarcadero Center, 20th Floor
                              San Francisco, CA 94111-4004
                              Telephone: +1 415 693-2000
                              Facsimile: +1 415 693-2222

                              COOLEY LLP
                              Orion Armon (CO SBN 34923)
                              oarmon@cooley.com
                              1144 15th Street, Suite 2300
                              Denver, CO 80202-2686
                              Telephone: +1 720 566-4000
                              Facsimile: +1 720 566-4099

                              STATES UNITED DEMOCRACY CENTER
                              Christine P. Sun* (CA SBN 218701)
                              3749 Buchanan St., No. 475165
                              San Francisco, CA 94147-3103
                              Telephone: +1 615 574-9108
                              christine@statesuniteddemocracy.org

                              STATES UNITED DEMOCRACY CENTER
                              Ranjana Natarajan (TX SBN 24071013)
                              1801 E 51st St., Suite 365, No. 334
                              Austin, TX 78723
                              Telephone: +1 323 422-8578
                              ranjana@statesuniteddemocracy.org

                              STATES UNITED DEMOCRACY CENTER
                              Zack Goldberg* (NY SBN 5579644)
                              86 Fleet Place, No. 6T
                              Brooklyn, NY 11201
                              Telephone: +1 917 656-6234
                              zack@statesuniteddemocracy.org




                             2
            Case 1:21-cv-00546-LY Document 63 Filed 08/25/21 Page 3 of 3




                                          SUSMAN GODFREY
                                          Neal S. Manne State Bar No. 12937980
                                          Robert Rivera, Jr. State Bar No. 16958030
                                          1000 Louisiana, Suite 5100
                                          Houston, TX 77002-5096
                                          Telephone: (713) 651-9366
                                          Facsimile: (713) 654-6666
                                          nmanne@susmangodfrey.com
                                          rrivera@susmangodfrey.com

                                          EL PASO COUNTY ATTORNEYS
                                          Jo Anne Bernal (TX SBN 02208720)
                                          El Paso County Attorney
                                          Joanne.Bernal@epcounty.com
                                          John E. Untereker (TX SBN 24080627)
                                          Assistant County Attorney
                                          juntereker@epcounty.com
                                          500 East San Antonio, Room 503
                                          El Paso, Texas 79901
                                          Telephone: +1 915 546-2050
                                          Facsimile: +1 915 546-2133

                                          *Admitted pro hac vice

                                          Attorneys for Lisa Wise, in her official
                                          capacity as the El Paso County Elections
                                          Administrator




                            CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2021, DEFENDANT LISA WISE’S RESPONSE
TO THE MOTION TO INTERVENE AS DEFENDANTS BY MEDINA COUNTY
ELECTIONS ADMINISTRATOR LUPE C. TORRES, IN HER OFFICIAL CAPACITY,
AND REAL COUNTY TAX ASSESSOR-COLLECTOR TERRIE PENDLEY, IN HER
OFFICIAL CAPACITY was served through the Court’s CM/ECF Document Filing System
upon each attorney of record.

                                             /s/ Kathleen Hartnett
                                             Kathleen Hartnett* (CA SBN 314267)


255780598




                                         3
